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   1                      UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
   2                           ALEXANDRIA DIVISION

   3   UNITED STATES OF AMERICA,           )   Case 1:18-cr-00457
                                           )
   4                      Plaintiff,       )
                                           )
   5           v.                          )   Alexandria, Virginia
                                           )   April 20, 2022
   6   BIJAN RAFIEKIAN,                    )   9:04 a.m.
                                           )
   7                      Defendant.       )
                                           )   Pages 1 - 6
   8

   9                     TRANSCRIPT OF STATUS CONFERENCE

  10              BEFORE THE HONORABLE ANTHONY J. TRENGA

  11                 UNITED STATES DISTRICT COURT JUDGE

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  25       COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES


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   1   APPEARANCES:

   2   FOR THE UNITED STATES OF AMERICA:

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   6   FOR DEFENDANT BIJAN RAFIEKIAN:

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   1               THE CLERK:       Criminal Case 1:18-cr-457, United

   2   States v. Bijan Rafiekian.

   3               Counsel, will you please note your

   4   appearances for the record.

   5               MR. GRANO-MICKELSEN:          Aidan Grano-Mickelsen

   6   for the United States, Your Honor.

   7               THE COURT:       Good morning.

   8               MR. MACDOUGALL:        Good morning, Your Honor.

   9   Mark MacDougall, Stacey Mitchell, Robert Trout, and

  10   James Tysse for Defendant Bijan Rafiekian.

  11               THE COURT:       All right.     The Court has

  12   received his confirmation of his waiver of appearance

  13   here today.

  14               We're here on the Court's scheduling status

  15   conference.      There's been filed a Notice of Appeal with

  16   respect to the Court's new trial order that was entered

  17   on March 25.      I understand that there is an objection

  18   both to that and not setting a trial date.

  19               I'll give the defense an opportunity to

  20   address those issues.         What's Mr. Rafiekian's current

  21   position on this as far as the status of the case?

  22               MR. MACDOUGALL:        Your Honor, out of respect

  23   for the Court's scheduling order and our hope to move

  24   forward with the trial at the earliest possible date,

  25   our understanding was that the government has not made


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   1   a final decision with regard to an appeal.                 We're here

   2   to address any issues the Court raises, including a

   3   possible trial date.

   4                THE COURT:      All right.     What's the

   5   government's position on setting a trial date?

   6                MR. GRANO-MICKELSEN:         Your Honor, as the

   7   Court knows, a Notice of Appeal divest the district

   8   court of jurisdiction with respect to the new trial.

   9   So we would say that the date of any new trial should

  10   wait until the appeal proceedings conclude either by a

  11   decision on the merits or by a dismissal from the

  12   government of that appeal.

  13                THE COURT:      All right.     Has the government

  14   made a final decision as far as pursuing the appeal, or

  15   is it still --

  16                MR. GRANO-MICKELSEN:         It has not yet.       It's

  17   under review, Your Honor.

  18                THE COURT:      All right.     Typically, a new

  19   trial order is not appealable.            It's not a final order.

  20   It's typically viewed as interlocutory to be reviewed

  21   after the trial.       The posture of this case is a little

  22   different.      The case had been previously appealed.                 The

  23   court vacated the Court's setting aside the verdict and

  24   also vacated the conditional new trial order but

  25   remanded the case to this Court in order for the Court


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   1   to explain further to the court of appeals whether it

   2   understood the limits on its discretion in ordering a

   3   new trial and also to give the Court an opportunity to

   4   express any additional reasons for granting the new

   5   trial beyond its analysis of why it thought the

   6   evidence was insufficient.

   7               So I think it's in a little different

   8   posture, and it may, in fact, be that the court of

   9   appeals would think it has continuing jurisdiction to

  10   review the new trial order that the Court has issued

  11   given the opportunity it had given the trial court to

  12   further explain its ruling.

  13               So I'm not going to set a trial date.               The

  14   court of appeals can, I'm sure, rather quickly decide

  15   whether it has jurisdiction or whether it should be

  16   sent back here for a trial before ruling on reviewing

  17   the Court's new trial order.           And if it's sent back,

  18   we'll expeditiously set a trial date and move forward

  19   in that fashion.

  20               All right.       Anything further?

  21               MR. GRANO-MICKELSEN:         Your Honor, if I could

  22   just supplement the Court's analysis just briefly.

  23               THE COURT:       Yes.

  24               MR. GRANO-MICKELSEN:         I would note that the

  25   government is specifically authorized to appeal the


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   1   grant of a new trial on Rule 33 grounds and the

   2   government's appeal statute, 3731.             So the court of

   3   appeals would have jurisdiction over this.

   4               THE COURT:       All right.     Well, they can decide

   5   if they do or don't.

   6               All right.       Anything further?

   7               MR. MACDOUGALL:        Nothing further from the

   8   defense, Your Honor.

   9               THE COURT:       All right.     Thank you.

  10               Counsel is excused.

  11               MR. GRANO-MICKELSEN:          Thank you, Your Honor.

  12                ----------------------------------
                             Time: 9:07 a.m.
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             I certify that the foregoing is a true and
  22
        accurate transcription of my stenographic notes.
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  24
                                                    /s/
  25                                   Rhonda F. Montgomery, CCR, RPR


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